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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 SELECT PORTFOLIO SERVICING,                        §
 INC.,                                              §
                                                    §
       Plaintiff,                                   §
                                                    §     Civil Action No. 3:23-cv-2398-K
 v.                                                 §
                                                    §
 EVELYN COLLINS, JOSE N.                            §
 ESTRADA, JUAN O. MARTINEZ,                         §
 MARIA A. MARTINEZ, AND MARIA                       §
 O. MARTINEZ,                                       §
                                                    §
       Defendants.                                  §

                           FOLLOW-UP JOINT STATUS REPORT

       Plaintiff Select Portfolio Servicing, Inc. (“Plaintiff” or “SPS”) and Defendants Jose N.

Estrada, Juan O. Martinez, Marria A. Martinez, and Maria O. Martinez (“The Estrada-Martinez

Defendants,” and together with Plaintiff, are referred to hereafter as the “Parties”) file this Follow-

Up Joint Status Report, as directed by the Court.


                                    I. “PROPOSED SETTLEMENT”


       The “proposed settlement” referenced in the Parties’ prior Joint Status Report is
actually an offer to provide information in exchange for an agreement to dismiss the claims
against the Estrada-Martinez Defendants. As stated by the Estrada-Martinez Defendants in
the prior Joint Status Report:

       “The Estrada-Martinez Defendants contend Plaintiff failed to comply with
       the Order in that no response or supporting brief of any kind was submitted.
       Instead, Plaintiff filed its First Amended Complaint, adding Section VI., a
       “Matter of Avoidance,” suggesting that the Estrada-Martinez Defendants “are
       not bona fide purchasers for value because they did not acquire the property
       for value.” In the only apparent attempt made to support this suggestion,
       Plaintiff states in its First Amended Complaint that “[t]hese Defendants
       acquired the property for $100.00 per the General Warranty Deed filed in the
       Real Property Records of Dallas County, Texas.” Plaintiff did not, in any


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       capacity, challenge the facts and legal arguments put forward by the Estrada-
       Martinez Defendants establishing that Plaintiff’s claims are barred by
       limitations.”

        The Estrada-Martinez Defendants, although the Parties have not yet initiated
discovery, have offered to deliver documentation to Plaintiff establishing that the Estrada-
Martinez Defendants purchased the property in question for value in excess of that alleged
by Plaintiff in paragraph 7 and paragraphs 37 through 39 of the Amended Complaint, in
exchange for a full dismissal of the claims brought by Plaintiff against the Estrada-Martinez
Defendants. As of the submission of this Follow-Up Joint Status Report, Plaintiff’s counsel
is waiting on a response from Plaintiff concerning the foregoing proposal.

                                                  Respectfully submitted,

                                               By:    /s/ Nicholas M. Frame
                                                     MARK D. CRONENWETT
                                                     Texas Bar No. 00787303
                                                     mcronenwett@mwzmlaw.com

                                                     NICHOLAS M. FRAME
                                                     Texas Bar No. 24093448
                                                     nframe@mwzmlaw.com

                                               MACKIE WOLF ZIENTZ & MANN, P. C.
                                               14160 North Dallas Parkway, Suite 900
                                               Dallas, TX 75254
                                               Telephone: (214) 635-2650
                                               Facsimile: (214) 635-2686

                                               ATTORNEYS FOR PLAINTIFF

                                               and




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                                                  By: /s/ Dean J. Siotos___
                                                  DEAN J. SIOTOS
                                                  Texas Bar No. 00793018
                                                  dsiotos@imtexaslaw.com
                                                  10440 N. Central Expressway, Suite 800
                                                  Dallas, Texas 75231
                                                  Telephone: (214) 265-6500
                                                  Facsimile: (713) 222-7669

                                                  Bradford W. Irelan
                                                  State Bar No.10411550
                                                  Federal Bar No. 13607
                                                  2520 Caroline St., 2nd Floor
                                                  Houston, Texas 77004
                                                  Telephone: (713) 222-7666
                                                  Facsimile: (713) 222-7669
                                                  birelan@imtexaslaw.com

                                                  IRELAN MCDANIEL PLLC

                                                  ATTORNEYS FOR DEFENDANTS
                                                  JOSE N. ESTRADA, JUAN O. MARTINEZ,
                                                  MARRIA A. MARTINEZ, AND
                                                  MARIA O. MARTINEZ



                                CERTIFICATE OF SERVICE

        I hereby certify that on April 12, 2024, a true and correct copy of the foregoing was served
in the manner described below on the following:

 VIA ECF Notification:                             VIA U.S. Mail:
 Dean J. Siotos                                    Evelyn Collins
 Irelan McDaniel PLLC                              1806 Longview Street
 10440 N. Central Expy., Suite 800                 Mesquite, Texas 75149
 Dallas, Texas 75231
 Attorney for Defendants Jose N. Estrada, Juan
 O. Martinez, Maria A. Martinez, and Maria O.
 Martinez


                                                             /s/ Nicholas M. Frame
                                                             NICHOLAS M. FRAME




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